Case 2:14-cv-00801-ES-JAD Document 42 Filed 06/30/16 Page 1 of 2 PageID: 623



NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



    DAMIAN MONTELEONE, an individual
    and on behalf of all others similarly
    situated,                                                Civil Action No. 14-801 (ES) (JAD)

                      Plaintiff                                            ORDER

                      v.

    THE NUTRO COMPANY, a Delaware
    corporation, et al.,

                      Defendants.


SALAS, DISTRICT JUDGE

        Pending before the Court is the unopposed motion for attorneys’ fees, expenses, and

incentive award filed by Plaintiff on behalf of Plaintiff’s Counsel. (D.E. Nos. 37, 38).       On

December 7, 2015, the Court held oral argument on the joint motion for final certification of

settlement class and approval of class settlement, notice procedures, and plan of allocation, (D.E.

No. 34), as well as the motion for attorneys’ fees, expenses, and incentive award, (D.E No. 38).

(See D.E. No. 39). The Court did not receive any objections.

        For the reasons stated on the record at oral argument on December 7, 2015 and in the

Court’s accompanying Opinion;

        IT IS on this 30th day of June 2016;

        ORDERED that the joint motion for final certification of settlement class and approval of

class settlement, class notice procedures, and plan of allocation, (D.E. No. 34), is GRANTED; and

it is further
Case 2:14-cv-00801-ES-JAD Document 42 Filed 06/30/16 Page 2 of 2 PageID: 624



       ORDERED that Plaintiff’s unopposed motion for attorneys’ fees, expenses, and incentive

award, (D.E. Nos. 37, 38), is GRANTED; and it is further

       ORDERED that, within ten (10) days of the date of this Order, the settling parties shall

submit a revised proposed Final Order and Judgment of Dismissal with Prejudice for the Court’s

review incorporating any modificationS that might be necessary in light of the Court’s

accompanying Opinion; and it is further

       ORDERED that the Clerk of the Court may terminate docket entries 34, 37, and 38.

       SO ORDERED.


                                                           s/Esther Salas
                                                           Esther Salas, U.S.D.J.
